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 4
     Attorney for Defendant
 5   HODA SAMUEL
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,       ) No. 2:10-CR-0223-JAM
                                     )
13                  Plaintiff,       )
                                     ) APPLICATION FOR ORDER TO BE
14        v.                         ) ADDED AS COUNSEL OF RECORD
                                     )
15   HODA SAMUEL, et. al.,           )
                                     )
16                  Defendants.      )
     _______________________________ )
17
18         Defendant Hoda Samuel hereby applies for an order to add attorney John Balazs as
19   counsel of record for purposes of appeal. Attorney Leonard C. Hart Nibbrig will remain
20   as counsel of record for purposes of defendant Samuel’s motion for new trial. Defendant
21   Samuel and attorney Nibbrig agree with this request.
22         Dated: August 22, 2013
23
                                                 John Balazs_________
24                                               JOHN BALAZS
25                                               Attorney for Defendant
                                                 HODA SAMUEL
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     Case 2:10-cr-00223-JAM-KJN Document 438 Filed 08/26/13 Page 2 of 2


 1                                   ORDER
 2   IT IS SO ORDERED.
 3   Dated: August 26, 2013
 4                                 /s/ John A. Mendez
                                   Hon. John A. Mendez
 5                                 U.S. District Court Judge
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